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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                        *
                                                *
       v.                                       *      CASE NO: 1:21-cr-0175-3 (TJK)
                                                *
ZACHARY REHL,                                   *
         Defendant                              *


                                            ********
                                            ORDER

       Upon consideration of Zachary Rehl’s Motion to Adopt and Supplement the Motion to

Dismiss and for Bill of Particulars Filed by Defendant Nordean (ECF 434), good cause having been

shown, it is _________ day of August, 2022, by the United States District Court for the District of

Columbia,

       ORDERED:

       1.) That the Motion is hereby GRANTED.




                                             HONORABLE TIMOTHY J. KELLY
                                             UNITED STATES DISTRICT JUDGE
